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                                                                            Honorable Thomas S. Zilly
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 6

 7                       IN THE UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8                                     SEATTLE DIVISION
 9

10   UNITED STATES OF AMERICA,              )               Case No. 2:16-cv-1041-TSZ
                                            )
11            Plaintiff,                    )               UNITED STATES’ OPPOSITION TO
                                            )               DEFENDANT DAVID GOULD’S
12            v.                            )               MOTION FOR SUMMARY
                                            )               JUDGMENT
13
     DAVID A. GOULD, et al.,                )
14                                          )               Note on Motions Calendar:
              Defendants.                   )               July 23, 2018
15   _______________________________________)
16
             The United States hereby submits this opposition to Defendant David Gould’s motion for
17
     summary judgment.
18
             In his motion, Mr. Gould makes frivolous claims in an attempt to nullify the IRS’s valid
19
     tax assessments against him for the 2000 through 2004 years and deprive this Court of
20
     jurisdiction to rule on those assessments. This past November, Mr. Gould filed his tax returns
21
     for 2000 through 2004 – twelve to sixteen years after the deadlines for filing them. Mr. Gould
22
     asserts that these recently filed returns moot the assessments that the IRS already has made
23
     against him for those years. He further asserts that the IRS must process his recently filed
24
     returns and provide him the opportunity to challenge, in the Tax Court, any IRS determination
25
     that does not comport with the returns.
26
     UNITED STATES’ OPPOSITION TO                                          U.S. DEPARTMENT OF JUSTICE
     MOTION FOR SUMMARY JUDGMENT
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                                                                           Tax Division, Western Region
     Case No. 2:16-cv-1041-TSZ                                             P.O. Box 683
                                                                           Washington, D.C. 20044
                                                                           Telephone: 202-514-6062
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 1           As explained below, Mr. Gould’s assertions are incorrect. First, contrary to what Mr.
 2   Gould states, the filing of a tax return does not automatically trigger an IRS determination on tax
 3   liability based on that return. Rather, under 26 U.S.C. § 6501, the filing of a return simply starts
 4   the running of the three-year period in which the IRS can assess taxes. That three-year period
 5   does not apply here because the IRS already had assessed taxes for the years at issue. In fact,
 6   because Mr. Gould failed to file returns for those years, the IRS prepared returns pursuant to 26
 7   U.S.C. § 6020(b) and, based on the § 6020(b) returns, made assessments against him for 2000
 8   through 2004. The § 6020(b) returns are sufficient for all legal purposes. Mr. Gould’s late-filed
 9   returns thus have no effect on the § 6020(b) returns or on the existing assessments.
10           Second, in seeking to nullify the tax assessments against him, Mr. Gould essentially asks
11   this Court to abate those assessments based on his recently filed returns. Section 6404(b) of the
12   Tax Code, however, specifically prohibits claims for abatement of income tax assessments. The
13   Court thus lacks jurisdiction to entertain Mr. Gould’s request.
14           For these reasons, Mr. Gould is not entitled to judgment as a matter of law. The Court,
15   therefore, should deny Mr. Gould’s motion for summary judgment.
16                                  UNDISPUTED MATERIAL FACTS
17           In the early 2000s, the IRS began investigating Mr. Gould because it suspected him of
18   using offshore accounts to conceal taxable income. See Declaration of Charles J. Butler (“Butler
19   Dec.”) ¶ 2, Ex. 1. Given that Mr. Gould did not file tax returns for the 2000 through 2004 years,
20   the IRS prepared returns for those years pursuant to 26 U.S.C. § 6020(b). See Butler Dec. ¶ 3,
21   Exs. 2-6. The IRS prepared the § 6020(b) returns based on analyses of bank deposits and checks,
22   other financial records, rental property records, records pertaining to businesses that Mr. Gould
23   had created or been involved with, and other evidence the IRS had gathered. See id.
24           On September 22, 2008, based on the § 6020(b) returns, the IRS issued Mr. Gould a
25   Notice of Deficiency with respect to the 2000 through 2004 years. The Notice included a report
26   explaining how the IRS had calculated the deficiencies for each of these years. See id. ¶ 4, Ex. 7.
     UNITED STATES’ OPPOSITION TO                                           U.S. DEPARTMENT OF JUSTICE
     MOTION FOR SUMMARY JUDGMENT
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                                                                            Tax Division, Western Region
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 1   On October 9, 2008, the IRS received from Mr. Gould a letter disputing the determinations in the
 2   report and otherwise making frivolous claims and demands. See id. ¶ 5, Ex. 8. Mr. Gould,
 3   however, did not file a petition with the Tax Court contesting the deficiency determinations. See
 4   id. ¶ 6. On February 16, 2009, based on the § 6020(b) returns, the IRS made tax assessments
 5   against Mr. Gould for the 2000 through 2004 years. See id. ¶ 7, Ex. 9.
 6           On July 6, 2016, the United States brought this action to (1) reduce to judgment the tax
 7   assessments against Mr. Gould (as well as the tax assessments against his former wife,
 8   Defendant Jane Polinder) and (2) foreclose the related federal tax liens on real property located
 9   in Whatcom County, Washington, and owned by Mr. Gould and Ms. Polinder. On October 24,
10   2017, over a year after the United States had brought this action, Lofton Burris filed on Mr.
11   Gould’s behalf tax returns prepared for Mr. Gould for the 2000 through 2004 years. See Dkt. 67-
12   3 through Dkt. 67-7. Mr. Gould has admitted that he does not possess any documents supporting
13   the positions taken in these returns. See id. ¶ 8, Ex. 10.
14           On June 16, 2018, Mr. Gould emailed counsel for the United States, asking the United
15   States to stipulate to a stay of this action pending the IRS’s determination on his recently filed
16   tax returns and “exhaustion of appeals in the tax court.” See Butler Dec. ¶ 9, Ex. 11. In response
17   to Mr. Gould’s request, the United States’ counsel stated the following:
18           Your claims regarding your recently filed returns and the Court’s jurisdiction are
             frivolous. First, filing returns over 14 years after they’re due for the tax years at
19           issue in this action does not “moot” the IRS’s assessments for those years. If you
             had wished to challenge those assessments in the Tax Court, you should have
20           done so within the statutory period, which expired several years ago. Because the
21           United States brought an action in U.S. District Court to reduce the IRS’s
             assessments to judgment, the question of your tax liability for the years at issue is
22           properly before the U.S. District Court. Accordingly, the IRS will not process
             your recently filed returns.1
23

24   1
      Contrary to what Mr. Gould states in his motion, counsel for the United States did not “instruct” the IRS
     not to process his recently filed returns. Rather, counsel informed Mr. Gould that the IRS would not be
25   doing so.
26
     UNITED STATES’ OPPOSITION TO                                              U.S. DEPARTMENT OF JUSTICE
     MOTION FOR SUMMARY JUDGMENT
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                                                                               Tax Division, Western Region
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 1   Id. Counsel also made clear to Mr. Gould that the United States would not stipulate to a stay of
 2   this action. Mr. Gould then brought this motion on June 21, 2018.2
 3                                  SUMMARY JUDGMENT STANDARD
 4           Summary judgment is appropriate if the evidence demonstrates “there is no genuine
 5   dispute as to any material fact and the movant is entitled to judgment as a matter of law.”
 6   Fed.R.Civ.P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986); Galen v. County
 7   of L.A., 477 F.3d 652, 658 (9th Cir. 2007). The moving party must show the absence of a
 8   material factual dispute and that he should prevail as a matter of law. See Celotex, 477 U.S. at
 9   323. In addition, the Court must “view the facts and draw reasonable inferences in the light most
10   favorable to the [non-moving] party.” Scott v. Harris, 550 U.S. 372, 378 (2007).
11                                                 ARGUMENT
12           In this case, Mr. Gould has not demonstrated that he should prevail as a matter of law.
13   He cannot do so because the relevant law does not support his claims.
14           Mr. Gould asserts that the tax returns he filed in November 2017 for the 2000 through
15   2004 tax years nullify the assessments that, in 2009, the IRS made against him for those years.
16   Those assessments are the subject of this litigation. Mr. Gould also claims that his recently filed
17   returns divest this Court of jurisdiction to rule on the validity of the assessments. According to
18   Mr. Gould, the IRS must process the recently filed returns, and he must have the opportunity to
19   challenge, in the Tax Court, any adverse IRS determination.
20           Mr. Gould has cited no statute or case that supports his claims. To the contrary, as
21   explained below, relevant law makes clear that Mr. Gould’s recently filed returns have no effect
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23
     2
       Mr. Gould filed his summary judgment motion the day before his deposition, noticed pursuant to the
24   Court’s order of May 4, 2018 (Dkt. 64). Mr. Gould did not appear for that deposition. The United States
     intends to seek sanctions against Mr. Gould for his violation of the Court’s order and his failure to appear.
25

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     UNITED STATES’ OPPOSITION TO                                                U.S. DEPARTMENT OF JUSTICE
     MOTION FOR SUMMARY JUDGMENT
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                                                                                 Tax Division, Western Region
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 1   on the existing tax assessments against him. The IRS based those assessments on § 6020(b)
 2   returns, which are sufficient for all legal purposes. Moreover, in asking the Court to nullify the
 3   assessments against him, Mr. Gould essentially seeks an abatement of those assessments. The
 4   Tax Code specifically prohibits such claims for abatement.
 5           The Court, therefore, should deny Mr. Gould’s motion.
 6   I.      Mr. Gould’s Recently Filed Returns Have No Effect on the Existing Tax
             Assessments, Which Are Based on Presumptively Valid § 6020(b) Returns.
 7
             Mr. Gould has cited no authority to support his claim that filing a tax return – no matter
 8
     how many years after the statutory deadline – nullifies any assessment for the year at issue. He
 9
     likewise has cited nothing to support his claim that the IRS must process a return filed after
10
     assessment and afford the taxpayer an opportunity to challenge the resulting IRS determinations
11
     in Tax Court. Mr. Gould, in fact, cannot do so because relevant law makes clear that late-filed
12
     returns have no effect on existing tax assessments.
13
             Contrary to Mr. Gould’s assertion, the filing of a tax return does not automatically trigger
14
     an IRS determination on tax liability based on that return. Rather, the filing of a return simply
15
     starts the running of the three-year period in which the IRS can assess taxes. See 26 U.S.C.
16
     § 6501(a); cf. Remington v. United States, 210 F.3d 281, 284 (5th Cir. 2000) (stating that the
17
     “law is well established that the filing of a return does not constitute the assessment of tax”). In
18
     cases such as this, where the taxpayer does not file a return as required, the IRS may assess tax at
19
     any time. See 26 U.S.C. § 6501(c)(3). Moreover, where the taxpayer does not file a return as
20
     required, the IRS has the authority to prepare a return for that taxpayer. See 26 U.S.C.
21
     § 6020(b)(1) (“If any person fails to make any return required by any internal revenue law or
22
     regulation . . . the [IRS] shall make such return from [its] own knowledge and from such
23
     information as [it] can obtain through testimony or otherwise.”); see also Rodriguez v.
24
     Commissioner of Internal Revenue, 97 T.C.M. (CCH) 1090, 2009 WL 211430, at *2 (T.C. Jan.
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     UNITED STATES’ OPPOSITION TO                                           U.S. DEPARTMENT OF JUSTICE
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 1   29, 2009) (“[T]he IRS has full authority to prepare [a § 6020(b) return] for anyone who fails to
 2   file his own return.”).
 3           Because Mr. Gould did not file returns for the 2000 through 2004 years, the IRS prepared
 4   § 6020(b) returns to determine his liability for those years. The § 6020(b) returns are
 5   presumptively valid and serve as Mr. Gould’s original returns. See 26 U.S.C. § 6020(b)(2)
 6   (“Any [§ 6020(b) return] . . . shall be prima facie good and sufficient for all legal purposes.”);
 7   see also Whittington v. Commissioner of Internal Revenue, 698 Fed. Appx. 515 (9th Cir. 2017).
 8   For instance, under 26 U.S.C. § 6651(g)(2), a § 6020(b) return “shall be treated as the return filed
 9   by the taxpayer for purposes of determining the amount of the addition” to tax for failure to pay
10   tax by the deadline. Accordingly, Mr. Gould’s late-filed returns do not supersede the § 6020(b)
11   returns the IRS has prepared. See Rodriguez, 97 T.C.M. (CCH) 1090, 2009 WL 211430, at *2
12   (“[L]ate-filed 1040s [income tax returns] simply do not take precedence over [§ 6020(b)
13   returns].”); cf. In re Smith, 828 F.3d 1094, 1097 (9th Cir. 2016) (filing tax return seven years
14   after deadline, and three years after IRS had issued assessment, was not an “honest and
15   reasonable attempt to comply with the tax code”).
16           Given that the § 6020(b) returns are sufficient for all legal purposes and serve as Mr.
17   Gould’s original returns for the years at issue, Mr. Gould’s recently filed returns for those years
18   essentially amount to amended returns. Nothing, however, requires the IRS to accept and
19   process amended returns. See Fayeghi v. Commissioner of Internal Revenue, 211 F.3d 504, 507
20   (9th Cir. 2000) (stating that the IRS “may, as a matter of internal administration, decide to accept
21   amended returns for limited purposes,” but “is not statutorily required to do so, or to treat an
22   amended return as superseding an original return”) (internal citation omitted). The Ninth Circuit
23   has made clear that “the filing of an amended return has no effect on the assessment and
24   collection process.” Id. (quoting Knoefler v. Schneider, 565 F.2d 1072, 1073 (9th Cir. 1977)).
25           Mr. Gould’s recently filed returns, therefore, have no effect on the existing assessments
26   against him, based on the § 6020(b) returns. Given that the United States brought this action to
     UNITED STATES’ OPPOSITION TO                                           U.S. DEPARTMENT OF JUSTICE
     MOTION FOR SUMMARY JUDGMENT
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                                                                            Tax Division, Western Region
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 1   reduce those assessments to judgment, this Court retains jurisdiction to determine the validity of
 2   those assessments pursuant to 26 U.S.C. §§ 7402(a) and 7403 and 28 U.S.C. §§ 1340 and 1345.
 3           Mr. Gould cites no statute or case to support his claims that his late-filed returns
 4   supersede the § 6020(b) returns and moot the assessments against him or otherwise deprive this
 5   Court of jurisdiction to determine the validity of the assessments against him. Instead, Mr.
 6   Gould relies solely on what appear to be two IRS informational publications (Dkts. 67-1 and 67-
 7   2). First, Mr. Gould has provided nothing to indicate that the IRS actually created these
 8   documents or, if it did, when. But even assuming the documents are genuine IRS publications,
 9   they do not state that late-filed returns will supersede § 6020(b) returns or nullify existing
10   assessments, as Mr. Gould claims. They simply encourage taxpayers to file returns even if late.3
11   And in any event, no matter what the publications say, they do not have the effect of law. See
12   Gerstenbluth v. Credit Suisse Sec. (USA) LLC, 728 F.3d 139, 147 (2d Cir. 2013) (“IRS
13   publications . . . do not have the force of law.”) (internal quotes omitted); Ward v. Commissioner
14   of Internal Revenue, 784 F.2d 1424, 1430-31 (9th Cir. 1986) (IRS “statements of policy or rules
15   of agency organization, procedure or practice” do not carry “the force and effect of law”);
16   Facebook, Inc. v. Internal Revenue Svc., No. 17-cv-06490, 2018 WL 2215743, at *12 (N.D. Cal.
17   2018) (IRS publications “are not binding and do not have the force of law”).
18           Mr. Gould thus has pointed to nothing to contradict the statutory and case law that makes
19   clear he is not entitled to judgment based on his recently filed tax returns. For this reason alone,
20   the Court should deny Mr. Gould’s motion.
21

22   3
       One of the documents (Dkt. 67-1) states the following: “If the IRS files a substitute return, it is still in
     your best interest to file your own tax return to take advantage of any exemptions, credits and deductions
23   you are entitled to receive. The IRS will generally adjust your account to reflect the correct figures.” It
     does not state, however, that the IRS will adjust accounts in all cases, such as when a taxpayer submits
24   returns with no supporting documentation almost a decade after the IRS has made assessments that
     already are the subject of litigation.
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     UNITED STATES’ OPPOSITION TO                                                  U.S. DEPARTMENT OF JUSTICE
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 1   II.     Mr. Gould Seeks an Abatement of Tax, Which § 6404(b) Specifically Prohibits.
 2           The Court should deny Mr. Gould’s motion on the additional basis that it improperly
 3   seeks an abatement of income tax. Through his motion, Mr. Gould seeks to have the Court
 4   nullify the tax assessments against him based on his recently filed returns. In actuality, therefore,
 5   Mr. Gould asks this Court to abate the IRS’s income tax assessments against him and force the
 6   IRS to make any assessments based on his recently filed returns. Section 6404(b) of the Tax
 7   Code, however, specifically prohibits claims for abatement of income tax assessments. The
 8   Court thus lacks jurisdiction to entertain Mr. Gould’s request.
 9           26 U.S.C. § 6404(b) states the following: “No claim for abatement shall be filed by a
10   taxpayer in respect of any assessment of any tax imposed under subtitle A,” which refers to
11   income taxes. Courts uniformly have interpreted this statute in accordance with its plain
12   language, as meaning that courts have no jurisdiction to hear claims for abatement. See, e.g.,
13   Bax v. Commissioner of Internal Revenue, 13 F.3d 54, 58 (2d. Cir. 1993) (holding that § 6404(b)
14   “expressly bars abatement claims”); Brooks v. United States, No. 10-3541, 2011 WL 3473999, at
15   *3 (N.D. Cal. Aug. 9, 2011) (“[A]batement of income tax is a matter of administrative
16   discretion not subject to judicial review.”); Krugman v. Commissioner of Internal Revenue, 112
17   T.C. 230, 237 (1999) (under § 6404(b), the Tax Court has no jurisdiction to review petitioner’s
18   claim for abatement of additions to tax).
19           The Court, therefore, has no jurisdiction to hear Mr. Gould’s request for abatement of the
20   IRS’s income tax assessments against him for the 2000 through 2004 years. For this reason as
21   well, the Court should deny Mr. Gould’s motion.
22                                               CONCLUSION
23           For the foregoing reasons, the United States respectfully requests that the Court deny Mr.
24   Gould’s motion for summary judgment.
25

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     UNITED STATES’ OPPOSITION TO                                           U.S. DEPARTMENT OF JUSTICE
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 1   Dated: July 11, 2018                      Respectfully submitted,
 2                                             RICHARD E. ZUCKERMAN
 3                                             Principal Deputy Assistant Attorney General

 4                                             /s/ Charles J. Butler
                                               CHARLES J. BUTLER
 5                                             Trial Attorney, Tax Division
                                               U.S. Department of Justice
 6
                                               P.O. Box 683
 7                                             Washington, D.C. 20044
                                               202-514-6062 (v)
 8                                             202-307-0054 (f)
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 9
                                               Of Counsel:
10
                                               ANNETTE L. HAYES
11                                             United States Attorney
                                               Western District of Washington
12
                                               Attorneys for the United States of America
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     UNITED STATES’ OPPOSITION TO                             U.S. DEPARTMENT OF JUSTICE
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 1                                      CERTIFICATE OF SERVICE
 2             I hereby certify that on July 11, 2018, I filed the foregoing with the Clerk of Court using
 3   the CM/ECF system, which will provide electronic notice to all parties that have appeared in this
 4   action.
 5

 6

 7                                                           s/ Charles J. Butler
                                                             CHARLES J. BUTLER
 8                                                           Trial Attorney, Tax Division
                                                             U.S. Department of Justice
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     UNITED STATES’ OPPOSITION TO                                            U.S. DEPARTMENT OF JUSTICE
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